              Case 4:09-cr-40069-NJR                     Document 312 Filed 04/20/10                      Page 1 of 7        Page ID
AO 245B       (Rev. 09108) Judgment in a Criminal Case             #707
              Sheet I



                                         UNITED STATES DISTRICT COURT
                                                         Southern District of Illinois
                                                                           )
             UNITED STATES OF AMERICA                                      )       JUDGMENT IN A CRIMINAL CASE
                                  v.                                       )
                                                                           )
                     DORIAN D. REEVES                                              Case Number:           4:09CR40069-005-GPM
                                                                           )
                                                                           )
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                                                                                                                           ..
                                                                                   Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count( s)       ~,} 3-15 of the Indictment                                                   APR 2 02010
Q pleaded nolo contendere to count(s)
  which was accepted by the court.
Q was found guilty on count( s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended               Count
21 USC 841(a)(I), 846            Conspiracy to distribute heroin                                              9/30/2009                  2
21 USC 841(a)(I),
(b)(I)(C)                        Distribution of heroin                                                        9/16/2009                   13-15




       The defendant is sentenced as provided in pages 2 through           _ ..._7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
Q The defendant has been found not guilty on count(s)
Q Count(s)                                                Q is     0 are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material cnanges in econonnc circumstances.

                                                                          April 19, 2010            ... _ _ __
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                                                                          Hon. G. Patrick Murphy, U. S. District Judge
                                                                          Name and Title of Judge
                Case 4:09-cr-40069-NJR                   Document 312 Filed 04/20/10                 Page 2 of 7          Page ID
AO 2458       (Rev. 09/08) Judgment in Criminal Case               #708
              Sheet 2    Imprisonment
                                                                                                      Judgment -   Page    2   of
DEFENDANT:                       DORIAN D. REEVES
CASE NUMBER:                     4:09CR40069-005-GPM


                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


151 TOTAL MONTHS ON COUNT(S) 2, 13-15.                  181 ALL COUNTS TO RUN CONCURRENT WITH EACH OTHER



    ~     The court makes the following recommendations to the Bureau of Prisons:

          That defendant be housed at Greenville, IL or as close to home as possible.
          That defendant be afforded the opportunity to participate in the intensive drug treatment program


    181   The defendant is remanded to the custody of the United States Marshal.

    o The defendant shall surrender to the United States Marshal for this district:
          o     at                                     Q a.m.     Q p.m.      on
          o     as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before 2 p.m. on
          o     as notified by the United States Marshal.

          o     as notified by the Probation or Pretrial Services Office.


                                                                      RETURN

I have executed this judgment as follows:




          Defendant delivered                                                            to

a                                                         with a certified copy of this judgment.



                                                                                                    UNITED STA'TES MARSHAL



                                                                            By ____.____~~~==~~
                                                                                               DEPUTY UNITED STATES MARSHAL
                  Case 4:09-cr-40069-NJR                    Document 312 Filed 04/20/10                  Page 3 of 7            Page ID
AO 2458        (Rev. 09/08) Judgment in a Criminal Case               #709
               Sheet 3 - Supervised Release
                                                                                                            Judgment   Page    3_
                                                                                                                              __     of
DEFENDANT:                      DORIAN D. REEVES
CASE NUMBER:                    4:09CR40069-005-GPM
                                                            SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a
3 TOTAL YEARS ON COUNT(S) 2, 13-15.                       ~ ALL COUNTS TO RUN CONCURRENT WITH EACH OTHER



        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)! unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as detennined by the court, not to exceed 52 tests in one year.

 o        The above drug testing condition is suspended, based on the court's determination tbat the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, iJapplicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probatIon officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled sUDstances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do sooy the probation officer;
 10)       the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
           contraband observed in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           pernusslOn of the court; and

 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or Rersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AO 2458    (Rev. 09/08) Judgment in a Criminal Case             #710
           Sheet 3C - Supervised Release
                                                                                                            4 _ of
                                                                                            Judgment-Page _ _
DEFENDANT:                DORIAN D. REEVES
CASE NUMBER:              4:09CR40069-005-GPM

                                         SPECIAL CONDITIONS OF SUPERVISION

Defendant shaH pay any financial penalty that is imposed by this Judgment and that remains unpaid at the time of supervised
release, or during the term of probation.
Defendant shaH provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office with
access to any requested financial information. Defendant is advised that the probation office may share financial information
with the Financial Litigation Unit.
Defendant shaH apply aH monies received from income tax refunds, lottery winnings, judgments andlor any other anticipated
or unexpected finanCial gains to the outstanding court ordered financial obligation. Defendant shall immediately notify the
probation officer of the receipt of any indicated monies.                             .
Defendant shall participate as directed and approved by the probation officer in an evaluation and treatment, if
recommended, for narcotic addiction, drug aependence, or a1cohol dependence, which includes urinalysis or other drug
detection measures, not to exceed 52 tests in a one-year period, as directed by the probation officer, and which may require
residence andlor particiRation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. Defendant shaH pay for the costs associated Willi substance abuse counseling andlor testing based on a
co-pay sliding fee scale approved by the Probation Office. Co-pay shall never exceed the total costs of counseling.
Defendant shaH submit his person, residence, real property, place of business, computer, or vehicle to a search, conducted by
the United States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
contraband or evidence of a violation of a condition of supervision. Failure to submit to a search may be grounds for
revocation. The defendant shall inform any other residents that the premises may be subject to a search pursuant to this
condition.




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                 Case 4:09-cr-40069-NJR                      Document 312 Filed 04/20/10                     Page 5 of 7          Page ID
AD 2458       (Rev. 09/08) Judgment in a Criminal Case                 #711
              Sheet 5 ~ Criminal Monetary Penalties
                                                                                                           Judgment ~ Page ~._".~_   of
DEFENDANT:                            DORIAN D. REEVES
CASE NUMBER:                          4:09CR40069-005-GPM
                                                  CRIMINAL MONETARY PENALTIES

       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                            Fine                                 Restitution
TOTALS                $ 400                                                  $ 400                                $ 0


 o     The determination of restitution is deferred ___ . An Amended Judgment in a Criminal Case (AD 245C) will be
       after such determination.

o      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa)"?ent, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U .S.C. § 3664(i), all nonfederal
       victims must be paid before the United States is paid.                           .

Name of Payee                                     Total Loss*                         Restitution Ordered                  Priority or Percentage




TOTALS                                 $                 _ _~$O.~                  $ _____----"'$~O.()CL


o      Restitution amount ordered pursuant to plea agreement
       $

o      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All ofthe payment options on Sheet 6 may be
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

IIlI   The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       IIlI   the interest requirement is waived for                ~fine      Q restitution.

       o      the interest requirement for               o   fine    0      restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, I lOA, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.
           Case 4:09-cr-40069-NJR                    Document 312 Filed 04/20/10         Page 6 of 7       Page ID
AO 24S8   (Rev. 09/08) Judgment in a Criminal Case             #712
          Sheet SA - Criminal Monetary Penalties

                                                                                           Judgment-Page   _ 6 _ of
DEFENDANT:               DORIAN D. REEVES
CASE NUMBER:             4:09CR40069-005-GPM

                    ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES


All financial penalties are payable through the Clerk of the District Court, 750 Missouri Ave., E. St. Louis, IL 62201.
AO 2458       Case
           (Rev. 09/08) 4:09-cr-40069-NJR
                        Judgment in a Criminal Case    Document 312 Filed 04/20/10                     Page 7 of 7          Page ID
           Sheet 6 - Schedule of Payments                        #713
                                                                                                          Judgment - Page      7     of
DEFENDANT:                 DORIAN D. REEVES
CASE NUMBER:               4:09CR40069-00S-GPM

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    0     Lump sum payment of$                              due immediately, balance due

           o     not later than                                  , or
           o     in accordance         o    C,        g D,   o     E, or       Q F below; or

B    III   Payment to begin immediately (may be combioed with              Q   C,    III   D,     o    F below); or

 c   0     Payment io equal                    (e.g., weekly, monthly, quarterly) installments of $ _____                over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    III   Payment io equal        monthly     (e.g., weekly, monthly, quarterly) installments of $ 100          over a period of
              months    (e.g., months or years), to commence _ _3.0_ _ (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    Q     Payment duriog the term of supervised release will commence withio                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    0     Special instmctions regarding the payment of criminal monetary penalties:




Unless the court has expresslr ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All crmrioa monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any crimioal monetary penalties imposed.



 o   Joiot and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




Q    The defendant shall pay the cost of prosecution.

Q    The defendant shall pay the following court cost(s):

Q    The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal
(5) fme ioterest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.                 '
